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                         EXHIBIT K
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     RMHunt, Ltd.
                                              5833 Revington Drive, Peachtree Corners, GA 30092 USA
                                                                                  Russ @RMHunt.com
                                                                                   Tel: 770.356.8846

   July 18, 2019

   Bruce Moss
   Denenberg Tuffley
   One Northwestern Plaza
   Suite 600
   Southfield. MI 48034


           RE:     Kwiatkowski y   FXI



   Dear Mr. Moss:

   You have asked me for an independent Human Factors Engineering analysis of an incident that
   occurred on July 11, 2016, involving a fire at the home of Mr. and Mrs. Kwiatkowski at 2743
   Addison Circle North, Oakland Township, Michigan.


   This letter contains my report, including analysis and opinions, in the above referenced matter.
   These opinions are based on the information available to me at this time. If more information
   becomes available as discovery continues I reserve the right to amend or modify these opinions as
   appropriate.


   Qualifications

   I hold the BS and MS in   Industrial Engineering and a PhD in Mechanical Engineering from the
   University of Illinois. While at the University of Illinois I taught machining processes to
   undergraduates and pursued applied research in the areas of troubleshooting and human error.
   While the focus of my professional career is human factors, my background in mechanical and
   industrial engineering is central to my work. This education and professional experience
   enables me to consider design and manufacturing issues in addition to the human interface


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   features of products. These issues also include the relevant warnings, instructions and human
   interaction, including expected use and misuse of a particular product or process.

   After receiving my PhD in 1981 I took a position on the faculty at the Georgia Institute of
   Technology where I taught, among other things, Human Factors and Man -Machine Systems in
   the Department of Industrial and Systems Engineering. While at Georgia Tech I co- founded,
   owned and operated Search Technology, Inc., a firm involved exclusively with applied research
   and development in Human Factors Engineering.

   Over a twenty year period Search Technology secured research contracts in the area of Human
   Factors Engineering from government agencies including the Army Research Institute, the
   National Aeronautics and Space Administration, the Federal Aviation Administration, the Office
   of Naval Research, the Naval Personnel Research and Development Center, Armstrong
   Laboratory, Oak Ridge National Labs, the Electric Power Research Institute and many others.
   Search Technology also secured applied development contracts involving Human Factors
   Engineering from commercial and industrial customers including General Electric, Motorola,
   FEDEX, Coca-Cola, Delta Airlines, Proctor & Gamble and many others. In 2003 I sold Search
   Technology to pursue other interests.

   In 2003 I joined the faculty at Southern Polytechnic State University where I taught Human
   Factors, Engineering Analysis and Design, Process Improvement, Statistics, Quality Assurance
   and a number of related courses at the undergraduate and graduate levels. While at Southern
   Poly I served as Program Coordinator for Systems Engineering, Department Chair of Industrial
   Engineering Technology, Director of Research, and, in 2008 I became Dean of the Extended
   University. In January of 2015 I became Associate Vice President for Research at Kennesaw
   State University. Before retiring January   1,   2018 I served for two years as Assistant Dean of
   Engineering at Kennesaw State University. I am currently the owner and only employee of RM
   Hunt, Ltd.

   In addition to research and teaching I have been involved, throughout my career, in product and
   process analysis and design with a particular emphasis on warnings and instructions. Relevant to
   the task I have been asked to do here, this necessarily has required me to develop and maintain


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   an expertise in design and human factors as it relates to how humans interact with the
   manufactured environment.             I   have consulted on a wide variety of consumer and industrial
   products both inside and outside of litigation for more than 30 years.

   A complete CV is attached to this report (Appendix A) as well as a list of cases I have testified in
   during the last 4 years (Appendix B) and a letter of engagement for the services rendered in this
   matter (Appendix C).          I   am certified consistent with OSHA requirements by having completed an
   OSHA 10 -Hour Training for General Industry and a Forklift Certification (OSHA) Class I - VII.
   I   expect that I will use the materials discussed in this report as exhibits should I be called upon to
   testify at trial.   I   expect I will also refer to any animations, diagrams, photographs, warnings,
   manuals, and videos that are used by other experts retained in this matter.




   Items Reviewed in Connection with this Case

         1.   Complaint - 5/31/18
         2.   Case Report, Oakland County Sheriff Offices
         3.   Rain Filter packaging graphics - FXI 908
         4.   Rain Filter Installation Instructions - FXI 988      - 991
         5. FXI - Warranty Claim Form - FXI 993 - 994
         6. Deposition transcript of Marc Albero - 5/16/19 with exhibits #1 -23

         7. Deposition transcript of Kevin Kwiatkowski - 6/17/19 with exhibits #1 - 8

         8. Deposition transcript of Priscilla Kwiatkowski - 6/17/19 with exhibit #1

         9. Deposition transcript of Jacqueline Kwiatkowski - 6/17/19

         10. Deposition transcript of Pierson Kwiatkowski - 6/17/19

         11. Deposition transcript of Jackson Kwiatkowski - 6/17/19 with exhibit #1

         12. Gutter Clear marketing video

         13. Accident video 7/11/6




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   Additional Reference Sources

      1.   An Introduction to Human Factors Engineering. Wickens, Liu, Gordon -Becker, Pearson
           2003
      2.   Principles of Human Safety. Ralph L. Barnett and William G. Switalski, 1988, Triodyne
           Inc.
      3.   Safety Hierarchy. Ralph L. Barnett and Dennis Brickman 2005, Triodyne Inc.
      4. ANSI Z535.1, Safety Colors, 2011
      5.   ANSI Z535.3, Criteria for Safety Symbols, 2011
      6. ANSI Z535.4 Product Safety Signs and Labels, 2011
      7. ANSI Z535.6, Product Safety Information in Product Manuals, Instructions, and Other

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      11, Safety Hierarchy, R. Barnett and D. Brickman, Triodyne Inc., 1985.

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      14. Preventing "Accidental" Injury: Accountability for Safer Products by Anticipating

           Product Risks and User Behaviors. S. Statler in Handbook of Human Factors in
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      15. Human Factors engineering and Design. M. Sanders and E McCormick. New York:
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        16.   Manufacturer's Guide to Developing Consumer Product Instructions, Timothy Smith
              (Ed), US Consumer Product Safety Commission, 2003



   Incident Summary

   On or about May 24, 2012, Mr. Kwiatkoski purchased the Rain Filter Gutter Filtration product
   manufactured by FXI, Inc. from a local Costco store. Mr. Kwiatkowski intended to install this
   product at his home at 2743 Addison Circle North, Oakland County, Michigan, to keep debris,
   tennis balls and baseballs out of his gutters. Mr. Kwiatkowski had not researched this product in
   advance but had purchased it based on a display that he saw in the store and the information
   provided on the box of the product. Shortly after purchasing the product Mr. Kwiatkowski
   installed the product in the gutter over his garage by flowing the instruction provided. He
   reported that the product was easy to install and it worked as advertised up until July 11, 2016.

   On or about July 11, 2016, Pierson Kwiatkowski (13 years old at the time) had lit a sparkler
   while on the driveway in front of the house. At some point when the sparkler was more than
   halfway consumed (Pierson Kwiatkowski, p14), Pierson threw it into the air for no specific
   reason other than to see it emit sparks in the air (Pierson Kwiatkowski, p12). Although he
   intended to throw it straight up, the trajectory of his throw of the wind caused the sparkler to land
   on the roof of the house where it rolled down and into the gutter and onto the Rain Filter product
   (Pierson Kwiatkowski, p20). Approximately 10 -15 seconds later the Rain Filter began to burn.
   Despite the efforts of Pierson and his brother and sister to extinguish the fire with water, the
   flames grew and eventually caused significant damage to the home and furnishings which
   ultimately required 16 months and more than a million dollars to repair.

   Analysis Process

   In analyzing cases such as this I follow an approach, or methodology, that I developed and have
   employed in hundreds of projects over the last thirty years. I have analyzed the product in this
   case based on my education and 30 years' experience as an industrial engineer, mechanical
   engineer, and human factors expert. The steps in this methodology are generally, if not almost
   universally, accepted in the human factors engineering profession. It is the same analysis a

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   human factors expert applies whether the situation involves litigation or not. This approach is
   outlined here below and described in some detail in Appendix D to this report.

       1.   Identify hazards. This can be done by analysis of the human machine
            interface and the environment in which the equipment is used and /or from
            accident records reflecting empirical evidence.
       2.   Consider whether hazards can be eliminated or mitigated by following the
            hazard control hierarchy. (The hazard control hierarchy is sometimes
            referred to as the Design Safety Hierarchy or simply, The Safety
            Hierarchy.)
       3.   Consider the need for, and viability of, warnings, instructions, and /or
            other collateral materials.
       4. Consider existing labels, warnings, instructions and other collateral
            materials to determine if hazards are adequately identified and if so, how
            warning information is conveyed to affected parties.
       5.   Consider similar products and processes to establish the state of the art
            for product and process design.
       6.   Consider pertinent training materials.
       7.   Consider the behavior of the individual(s) involved (as well as behavior
            expected of operators in     a   more general sense too.)
      8.    Consider relevant applicable regulations.
      9.    Consider standards within the industry and generic industrial standards
            (a.k.a. voluntary or consensus standards).

   Analysis of This Case

   Hazard Identification

   Controlling hazards requires an understanding of the hazard, how and how often a user might be
   exposed to this hazard, whether they would recognize the hazardous situation and the
   consequences of encountering the uncontrolled hazard. Only once these elements are understood
   can one determine what, if anything, can or should be done to control the hazard.


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   Hazard Analysis

   The hazard that is the subject of this report pertains to the flammability of the Rain Filer Gutter
   Filtration product manufactured by FXI. Based on deposition testimony of Marc Albero, a
   Chemical Engineer and Senior Director of Technical Products at FXI, it was known by FXI that
    1)   flaming embers from chimneys, wood burning stoves, or forest fires were potential sources of
   ignition for a foam gutter filter (Albero, p33) and 2) the uncoated foam product, as it was sold to
   Mr. Kwiatkowski would not pass accepted fire resistance tests (Albero, p62).


   Consider whether hazards can be eliminated or mitigated by following the
   hazard control hierarchy

   It is generally accepted that once a hazard has been identified, the most reliable way to protect
   users from harm is to follow the Hazard Control Hierarchy. That is to say that the most reliable
   means of controlling a hazard is to eliminate the hazard through design.

   Eliminate the hazard

   The flammable nature of the foam gutter filter is not inherent in its utility. Therefore,
   manufacturing a gutter filter from some non -flammable material is a potential means of
   eliminating the subject hazard. A variety of non -flammable, non-foam gutter protection products
   have been available in the market for years. However, there are benefits to using a foam filter
   approach that include ease of installation by homeowners, reduced costs and aesthetics.
   Therefore, it is useful to consider whether the flammability hazard of a foam gutter filter can be
   reliably mitigated while still retaining these other benefits.

   Mitigate the hazard

   If the hazard cannot be eliminated a decision must be made as to what level of mitigation, in this
   case - fire resistance, will be considered acceptable. I am unaware of any fire resistance test that
   applies specifically to foam gutter products. However, different fire resistance tests have been
   developed in different industries to suit application specific needs. Procedures have been
   developed for testing the flammability of clothing fabrics, mattresses and furniture, building


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   materials, automotive parts, liquid chemicals and many others.

   ASTM D2859, the methenamine pill test, was developed to test the burn characteristics of
   finished textile floor coverings (eg, carpet). The test is meant to assess the flammability of a
   given material as it might respond to a cigarette or match dropped onto its surface. This pass /fail
   test does not require that the material being tested does not burn at all but rather that the burned
   area does not exceed a specified distance from the source of ignition (the pill) before it burns
   itself out.

   The pill test was identified by FXI as a method of assessing the fire resistance of a foam gutter
   filter because 1) when in use the foam gutter filter product is oriented in a horizontal plane, as is
   carpet, 2) the ignition sources of concern are such things as embers from chimneys or forest fires
   falling onto the surface of the product (Albero, p33), and 3) this test was easy and economical to
   administer. The pill test was known to FXI and used by Cushion By Design, Inc. (CBD), an FXI
   contractor, to test their foam gutter filter products (Albero, Ex 8).

   According to Mr. Albero, FXI and other foam gutter filter manufacturers have used different fire
   resistant chemicals in the base foam as well as in coatings applied after the foam is
   manufactured. The purpose of including fire resistant chemicals in the foam and in the coating is
   to mitigate the flammability hazard. FXI has used methenamine pill testing procedures in the
   course of experimenting with various chemical recipes and manufacturing techniques. At the
   time Mr. Kwiatkowski purchased the Rain Filter product, FXI was aware of,

           the presence of the flammability hazard in their untreated foam gutter filter products,
           then need to mitigate the flammability hazard in their foam gutter filter products,
           the viability of using fire resistant coatings in their foam gutter filter products to make
           them safe in light of its intended use,
           the fact that the FXI Rain Filter product was to be marketed and sold to homeowners who
           would likely not have an appreciation for the flammability hazard of non -fire resistant
           foam gutter filters or the potential sources of ignition,
          the fact that the Pill Test was a recognized fire resistance standard test method and that it
          was easy and economical to administer, and


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             the FXI foam filter would not pass the pill test without the fire resistant coating (Albero,
             p91).

    To summarize, FXI recognized a flammability hazard in their Rain Filter product and further
    recognized the need to mitigate this hazard. Finally, they adopted a testing method but then
    failed to insure that this test was administered to its product and therefore, failed to determine
    that they had mitigated the flammability hazard. (Note: I am not a materials engineer and my
    discussion here of the pill test is not meant to be an endorsement of that specific test. Rather, it
    is recognition that some sort   of test could and should have been used to consistently verify that
    the Rain Filter flammability hazard had been mitigated.)


    Consider the need for, and viability of, warnings, instructions, and /or other
    collateral materials.

    The third level of the Hazard Control Hierarchy involves communicating through training,
    warnings and/or instructions to users so that they will be aware of hazards and be informed of
    how to modify their behavior so as to avoid being exposed to identified hazards.

    Generally, the manufacturer has a duty to warn where:
        1.   the product supplied is dangerous;
       2. the danger is or should be known by the manufacturer;
       3. the danger is   present when the product is used in the usual and expected manner; and
       4. the danger is not obvious or well known to the user.


   Manufacturers of consumer products and industrial products must insure that users of their
   products are adequately informed of all hazards associated with the anticipated use of the product
   and how to mitigate these hazards. The Consumer Product Safety Commission states that the
   ability of manufacturers to recognize and anticipate the circumstances under which products are
   used or misused is central to the effective design and production of safe products (CPSC, 2006).
   In another publication the CPSC states, "Instructions do not exist in a vacuum. They are part of
   a system   of Product -oriented elements that must work together. These elements include the
   physical product design, user interfaces, on-product warnings and messages, packaging,
   marketing and training." It goes on to point out, "Instructions are a tool for consumers to use to

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    do something. Like any other good tool, instructions must be designed for use. Think of their
    development not as an effort of writing, but of engineering." (CPSC, 2003) It is with this
    approach in mind that this report analyzes the design of the subject warnings and instructions.

    The analysis of any situation in which failure to warn is alleged requires answering questions in
    three areas (Laughery and Wogalter, 2005):

        1.   Was a warning needed?
        2. Was (were) the existing warning(s) adequate?
        3.   Would additional or different warnings have made a difference?

    As discussed above, FXI was aware of the flammability hazard of their uncoated foam gutter
    filter product. Over time they had determined that this hazard could be reasonably mitigated by
    coating the exposed surface of the product with a chemical that would make it fire resistant. In
    fact the subject product and a substantially similar product marketed and sold to
    contractors /professional installers, had included this fire resistant treatment prior to the sale to
    Mr. Kwiatkoski. At least one of the retailers to whom FXI was selling the subject product had
    established a contractual requirement that the foam be manufactured to so as to be fire resistant.
   However, without informing the retailer from whom Mr. Kwiatkowski purchased the product or
   providing any information to end -consumers like Mr. Kwiatkowski, FXI decided stop including
   the fire resistant coating on the Rain Filter product in order to reduce manufacturing costs
    (Albero, p78).

   Normally, it is not reasonable to expect a manufacturer to communicate to users /customers all of
   the safety features that have not been designed into a given product. A listing of features not
   included could be nearly infinite in length for most products. However, certain features by virtue
   of their importance to safety and by the fact that they are included in some products within a
   class, but not all, should be considered for inclusion. One example would be for drywall or
   sheetrock. There are some types of sheetrock that are specifically manufactured and tested to be
   fire resistant. However, other types of sheetrock do not have this special rating and
   manufacturers and retailers include this in their marketing materials. Statements like "Intended
   for non -fire -rated applications" convey important information to users that they should consider


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    other products if fire is a recognized hazard for their intended use.

    A warning statement indicating that the FXI Rain Filter was not fire resistant would have
    conveyed important information to potential consumers at the point of sale so that they could
    make an informed decision to purchase this product or not.

    This analysis now turns to the second question on the Laughery Wogalter list above that asks
    whether the existing warnings were adequate.

    Consider existing labels, warnings, instructions and other collateral materials to
    determine if hazards are adequately identified and if so, how warning
    information is conveyed to affected parties.

    In order to assess whether existing warning(s) are adequate it is necessary to agree on the
    definition of an adequate warning. There are multiple models for assessing the design adequacy
    of printed warnings (Laughery and Wogalter, 2005; ANSI Z535, OSHA, CPSC). These models
    are in general agreement that design adequacy depends on content, format, and location.
    Furthermore, an adequate warning should accomplish the following four goals:


           Call attention to the presence of a hazard,
           Identify the nature of the hazard,
           Identify the potential consequences of encountering the hazard, and
           Provide explicit actionable direction on how to avoid the hazard.

   The warning mode or format should promote ease of understanding and, in the case of printed
   warnings, ease of reading with pictorials or symbols and other methods of highlighting important
   information. The location of the warning should ideally be such that the warning will be
   received when and where it is useful.

   Location

   In order for a warning to be useful regarding the flammability hazard of the Rain Filter product,
   it should be conspicuously available to potential customers before they purchase the product.
   This would suggest that the safety message /warning should be on any marketing display material

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    and the product packaging. It is also reasonable to include warnings in installation instructions
    or any other owner care /maintenance type documents.


    Rain Filter Packaging

    Content

    One safety message that appears on the packaging of the Rain Filter product (FXI     - 0000908)
    address a feature that the product does not embody. This message, shown here below, informs
    that customer that this product should not be used for collecting drinking water.



                                          CAUTION:
                                          This product has not been certified for and
                                          is not intended for use in connection with
                                          collecting drinking water (potable water)




    Clearly, FXI should have created a similar safety message /warning regarding the fact that the
    product was not manufactured to be fire resistant. It could have appeared in the same vicinity as
    the warning above and could look something like the following:

                                               WARNING:
                                               This product is not fire resistant
                                               and should not be used where it
                                               might be exposed to open flame or
                                               burning embers from chimneys,
                                               camp fires or forest fires.




    Rain Filter Installation Instructions

   There are two safety messages in the Installation Instructions (FXI 000988). These two
   Cautions advise the installer to wear gloves to protect against cuts frdm sharp edges and to be
   careful when using ladders to install the Rain Filter product. The content of these safety
   messages appears to be adequate. However, best practices are to locate warnings before
   instructions to increase the likelihood that the messages will be noticed and read.


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    Kwiatkowski.

    There was no training available for users of this product beyond the installation instructions.
    Although elaborate training materials were not needed for this product, FXI could have created a
    brief video, available on their web site, where they could communicate proper installation as well
    as convey important safety information. While this could have been useful, such information is
    not likely to reach customers until after they have purchased the product and at that point, it is
    much less likely that a customer would go to the effort to return the product based on safety
    messages contained within the training material.

    Consider the behavior of the individual(s) involved

    Mr. Kwiatkowski purchased the FXI Rain Filter for the purpose for which it was intended and
    installed it as per the instructions. Thus, his purchase and use of the product was completely
    foreseeable by FXI.

    The source of ignition for the fire that substantially damaged the Kwiatkowski home was a
    sparkler that accidentally fell into the gutter when it was thrown into the air by    13   year old
   Pierson Kwiatkowski. These events lead to several important questions. These questions are
    asked and answered here below.

        1.   What laws, rules, regulations govern the purchase and use of sparklers in Oakland
             Township?

             Answer: The state of Michigan prohibits the sale of fireworks to anyone under the age of
             18. The state   of Michigan recognizes two types of "sparkling" fireworks. Sparklers,
             such as that being used by Pierson Kwiatkowski are considered "Low Impact Devices."
             "Sparkling Devices" are considered novelties and are not regulated by the state.
             Regarding the use of fireworks, it does not appear that there are any age limits specified.

       2. Was there any safety information, warnings or guidance on the package or in the
             instructions of the sparklers that would have pertained to this situation?

             There was cautionary language on the box that the sparklers came in. The following

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           safety messages were included:

               a.   Sparklers are flammable.
               b.   Use with close adult supervision.
               c.   Use only outdoors.
               d. Do not touch glowing wire.
               e.   Hold in hand with arm extended.
               f.   Keep away from flammable materials.
               g.   Light only one sparkler at a time.
               h.   Place in water after use.
               i.   Not recommended for children under 12.

            Of the messages listed here above only items b, f, and i warrant consideration given the
            facts of the scenario at hand. Regarding b, Pierson was not under close adult
            supervision while he was using the sparkler on the day of the fire. However, it is not
            clear what an adult could or would have done to prevent Pierson from throwing the
            sparkler into the air on an impulse.

            Regarding   f.   Pierson did not intentionally place the sparkler near to or in contact with a
            material known to him to be flammable.


            Regarding i, Pierson was not under age 12 at the time and was not, therefore, excluded
            by these instructions/warnings from using the sparklers.

      3.   Was the hazard of the sparkler igniting the FXI Rain Filter product open and obvious?

           There is no reason to believe that Pierson would have had any idea that the FXI Rain
           Filter could be ignited by a sparkler. Furthermore, the sparkler itself does not convey to a
           user that it is a particularly dangerous product. The sparks given off by a sparkler have
           so little energy in them that they seldom cause even the slightest burn when they contact
           bare skin or clothing. It could be said that sparklers do not have inherent warning
           characteristics. Furthermore, a product that is implicitly endorsed for use by children 12
           years of age and older is not likely to be considered inherently dangerous by children or


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          adults.

       4. Did the sparklers present a greater hazard of ignition   of the FXI Rain Filter product than
          could have been reasonably foreseen by FXI?

          In the deposition of Kevin Kwiatkowski he was asked if he understood that the
          temperature at which a sparkler burns was high enough to melt metal. This caused me to
          question whether the high temperature would have caused even a fire resistant product to
          ignite in the way that the FXI Rain Filter did at the Kwiatkowski home. I believe that
          this is not the case.

          While it is true that sparklers can burn at temperatures in excess of 2000 °F, there is very
          little heat energy in a sparkler. This requires only an understanding of undergraduate
          thermodynamics and can be demonstrated by placing a lighted sparkler onto a piece of
          fire resistant carpet. I conducted just such a demonstration.


          As can be seen in the photograph here below, the fire resistant carpet is singed in the area
          where the sparkler was burning but barely an inch to either side. The carpet smoldered
          while the sparkler was burning but stopped smoking within seconds of the sparkler
          burning itself out. Had the FXI Rain Filter product been adequately coated with fire
          resistant chemical, more than likely, it never would have caught fire.




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                      Result of placing a burning sparkler on   a   piece of fire resistant carpet.

    To summarize, it is clear that the Kwiatkowskis were not warned of any fire hazard associated
    with the FXI Rain Filter product and therefore did not knowingly assume any risk. Mr.
    Kwiatkoski's behavior with respect to this product is beyond reproach. Furthermore, in his
    deposition, Mr. Kwiatkowski testified that had he been informed of the fire hazard associated
    with this product, he never would have purchased it.

    Regarding Pierson Kwiatkowski, it is true that his act of throwing a lit sparkler into the air did
    ultimately lead to the fire that damaged their home. However, his behavior, while ill- advised,
    could hardly be considered to be unforeseeable and was certainly not an act of reckless disregard
   for safety.

   Consider relevant applicable regulations.

   I am not aware of any applicable regulations that would specify the formatting and/or content of
   the warnings specific to the FXI foam gutter filter.

   Consider standards within the industry and generic industrial standards.

   The ANSI Z535 family of standards pertain to safety messages on products and in collateral


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    materials such as Owner's Manuals. Although they are voluntary standards, they would provide
    valuable information on the formatting of safety messages.

    The Consumer Product Safety Commission has created the Manufacturer's Guide to Developing
    Consumer Product Instructions (2003) and the Handbook for Manufacturing Safer Consumer
    Products (2006). While neither of these documents apply to the development of these materials
    with the force of law, they do provide valuable information that would allow FXI to develop on-
    product safety information, packaging and instructions that would convey important safety
    information that improve the clarity and completeness of these materials.

    Opinions

    Based on my analysis of the information and materials available to me at this time, the analysis
    described here above and my education, training and nearly 40 years of experience in human factors
    and engineering, I have developed the following opinions in this matter:


        1.   FXI was aware that their Rain Filter product, without the fire resistant coating, exposed
             users to a flammability hazard.

        2. The FXI Rain Filter product was unreasonably dangerous for its intended purpose
             because it was not fire resistant.

        3. Because the FXI Rain Filter product was not fire resistant it exposed the Kwiatkowski

             family to an unreasonable risk of fire that could arise from a number of different ignition
             sources.

       4. The FXI Rain Filter product was unreasonably dangerous because the marketing
             materials, installation instructions and packaging materials failed to convey the
             flammability hazard associated with installing the product in open gutters.

       5. The packaging and other documentation for the FXI Rain Filter product should have

             clearly warned users that it was flammable and could cause significant damage or injury
             if ignited while being used as intended.

       6. Kevin Kwiatkowski used the FXI Rain Filter product in its intended and foreseeable

             manner.

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        7.   It is unreasonable to conclude that adult supervision of Pierson Kwiatkowski would have
             reliably prevented the outcome of this incident.

        8.   It is unreasonable to conclude that anyone in the Kwiatkowski family could have
             foreseen that throwing a lit sparkler onto the roof of their garage would have ignited the
             catastrophic fire that ensued.

    These are my opinions in this case based on the material available to me at this time. I hold these
    opinions to be true to a reasonable degree of engineering certainty. If more information becomes
    available I reserve the right to amend these opinions as necessary.

    Sincerely,




    Ruston M. Hunt, PhD




                                                                                             19IHunt
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                                               APPENDIX A


                                            RUSTON M. HUNT
                                            CURRICULUM VITAE



    ADDRESS

          RM Hunt, Ltd.
          5833 Revington Drive
          Peachtree Corners, GA 30092


          Business Phone:            (770) 356 -8846
          Email:                     Russ(ä RMHunt.com
          EIN:                       37- 1421791


    PROFESSIONAL INTERESTS

                             -
         Human factors warning design and evaluation
         Design and evaluation of human -product interfaces
         System design and quality management


    EDUCATION
         BS Industrial Engineering University of Illinois, 1978
         MS Industrial Engineering, University of Illinois, 1979
         PhD Mechanical Engineering, University of Illinois, 1981



    PROFESSIONAL POSITIONS
         2018    - Present       Associate Professor Emeritus, Systems Engineering, Kennesaw State
                                 University, Georgia


         2015    - 2017          Assistant Dean of Engineering and Associate Professor of Systems
                                 and Industrial Engineering, Kennesaw State University, Kennesaw,
                                 Georgia

                                 Responsible for accreditation of all engineering and engineering
                                 technology programs at Kennesaw State University. Also teach
                                 graduate and undergraduate level courses in Systems Engineering,
                                 Quality Assurance and Industrial Engineering. Courses taught include
                                 Systems Analysis and Design, Human Machine Systems, Statistics,
                                 Human Factors of Quality, Process Improvement and Total Quality
                                 Management.


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          2015   - 2015   Associate Vice President for Research, Kennesaw State University,
                          Kennesaw, Georgia

                          Responsible for development, coordination and administration of
                          externally funded research grants in the areas of applied sciences,
                          engineering, engineering technology, computer science, software
                          engineering and information technology. Responsible for identifying
                          opportunities to develop, protect and market intellectual property
                          across the university. Serve on the Board of Directors of the Kennesaw
                          State University Research and Service Foundation (KSURSF).


          2011 - 2017     Chief Operating Officer, Southern Polytechnic Applied Research
                          Corporation (SPARC), Marietta, Georgia

                          Responsible for day -to -day operations of the university research
                          foundation including development and contract administration of
                          externally funded research grants, sponsored programs, English
                          language classes and continuing education.


         2008    - 2014   Dean, Extended University, Southern Polytechnic State University,
                          Marietta, Georgia

                          Responsible for development, coordination and administration of
                          externally funded research grants, sponsored programs, eCore classes
                          and continuing education for the university. Responsible for teaching
                          graduate and undergraduate level courses in the Industrial Engineering
                          Technology Department.          Courses include Human Factors
                          Engineering, Systems Engineering, and Statistics.


         2007    - 2008   Director, Southern Polytechnic Applied Research Center, Southern
                          Polytechnic State University, Marietta, Georgia

                          Responsible for development, coordination and administration of
                          externally funded research grants and sponsored programs for the
                          university. Responsible for teaching graduate and undergraduate level
                          courses in the Industrial Engineering Technology Department.
                          Courses include Human Factors Engineering, Systems Engineering,
                          and Statistics.


         2006   - 2007    Department Chair, Industrial Engineering Technology, Associate
                          Professor and Systems Engineering Program Coordinator, Southern
                          Polytechnic State University, Marietta, Georgia

                          Responsible for management of the Industrial Engineering Technology
                          Department with undergraduate programs in Industrial Engineering
                          Technology, Systems Engineering and Apparel Textile Technology and
                          graduate programs in Systems Engineering and Quality Assurance.



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          2003 - 2005     Assistant Professor and Systems Engineering Program Coordinator,
                          Southern Polytechnic State University, Marietta, Georgia

                          Responsible for teaching graduate and undergraduate level courses in
                          the Industrial Engineering Technology Department. Courses include
                          Human Factors Engineering, Systems Engineering, Statistics and Total
                          Quality Management. Also responsible for the Systems Engineering
                          curriculum, scheduling classes and managing faculty and staff.



         2002 - Present   President, RM Hunt, Ltd., Peachtree Corners, Georgia

                          Provide human factors based analysis, evaluation and design of
                          consumer and industrial products and hazard warning materials.
                          Activities include development of warning information as well as post -
                          accident analysis of warnings in support of litigation.


         1996 - 2002      President and CEO, Search Technology, Norcross, Georgia

                          Responsible for corporate wide planning and management. Technical
                          activities include human factors consulting, expert witness testimony in
                          human factors, software system design and development, program
                          management, and review of all program deliverables.            Frequent
                          speaker at short courses, conferences and seminars including the
                          Institute of Continuing Legal Education in Georgia (ICLEG) and the
                          Association of Insurance Subrogation Specialists.


         1988 - 1995      President and Senior Scientist, Search Technology, Norcross, Georgia

                          Responsible for corporate wide planning and management. Technical
                          activities include program management, review of all program
                          deliverables, and consulting and expert witness testimony in human
                          factors.


         1980 -1987       Vice President and Senior Scientist, Search Technology, Norcross,
                          Georgia

                          Conduct and manage research in the areas of design and evaluation of
                          computer-based operator aids. The research results are applied in the
                          form of consulting services to commercial clients. Experience ranges
                          from nuclear power plant control rooms to shipboard computerization
                          of non -tactical operations.

                          Also responsible for management of software engineering             and
                          marketing.




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          1981 -1982       Assistant Professor, Georgia Institute of Technology, Atlanta, Georgia

                           Responsible for research and teaching in the area of man -machine
                           systems and human factors. Specific interests in the areas of human
                           behavior in fault diagnosis tasks and fault diagnosis training.

          1978 -1981       Research Assistant, University of Illinois       Coordinated    Science
                           Laboratory, Champaign- Urbana, Illinois

                          Responsible for designing and conducting experiments involving
                          computer based training, computer simulations and human subjects.
                          Activities involved computer programming in BASIC, FORTRAN, and
                          Pascal as well as statistical analysis and interpretation of results using
                          the International Mathematics and Statistics Library (IMSL). This
                          research was funded by the Army Research Institute. Also taught adult
                          education classes in programming microcomputers.


          1977-1978       Industrial Engineer, Kraft Foods, Champaign, Illinois

                          Responsible for large distribution warehouse layout and organization of
                          products for shipping. Established a forklift maintenance program for
                          scheduling preventative maintenance and monitoring corrective
                          maintenance.


         1977 -1977       Teaching Assistant, University of Illinois Mechanical Engineering
                          Department, Champaign- Urbana, Illinois

                          Taught an introductory course on manufacturing processes which
                          included hands -on demonstrations of large metal cutting machinery
                          and lectures on analytic tools for use in the manufacturing domain.



    PROFESSIONAL ASSOCIATIONS
         Member, Human Factors and Ergonomics Society
         Past Member, International Council on Systems Engineering
         Past Member, American Society for Engineering Education
         Past Member, American National Standards Institute
         Past Member, National Safety Council
         Past Member, National Fire Protection Association
         Past Member, IEEE Systems, Man, and Cybernetics Society
         Past Member, American Institute of Industrial Engineers
         Past Member, Society for Information Display


   ELECTED OFFICES
         1982 -1983    Secretary, IEEE Systems, Man, and Cybernetics Society




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    CERTIFICATIONS

          Boating Safety Certification - NASBLA Approved, June 4, 2019
          RTK - Global Harmonized System Training - Kennesaw State University, Sep. 23, 2015.

          Forklift Certification (OSHA) Class - VII. Atlanta Technical College, April 29, 2017.
                                            I




          10-Hour OSHA Hazard Recognition Training for General Industry, May 18, 2017.


    PUBLICATIONS
          Hunt, R.M. (2016). You'll Shoot Your Eye Out. Proceedings of the DRI Fire Science and
                 Litigation Seminar, Scottsdale, Arizona.

          Herring Gas Company (2005). Read, Share, and Keep. Herring Gas Company Safety
                 Booklet. (Note: Served as technical consultant, editor and member of a team that
                 authored this item under contract with Herring Gas Company.)

         Hunt, R.M. (1998).    Yes They Can! Websites that Provide More than Information.
                 Competitive Edge! July /August. Norcross, Georgia.

         Hunt, R.M. (1997).   Where in the World is the World Wide Web Headed            in   1997?
                 Competitive Edge! March /April. Norcross, Georgia.

         Rouse, W.B., & Hunt, R.M. (1991). Transitioning advanced interface technology from
               aerospace to manufacturing applications. International Journal of Industrial
               Ergonomics.

         Phillips 66 Company (1991). Safety and Warning Information Booklet for Propane Users.
                  (Note: Served as project manager, editor and member of a team that authored this
                  item under contract with Phillips 66 Company.)

         Hunt, R.M. (1987). The difficulties of design problem formulation. In W.B. Rouse and
                K.R. Boff (Eds.), System Design: Behavioral Perspectives On Designing Tools,
                and Organizations. New York, New York: Elsevier Publishing.

         Hunt, R.M., & Frey, P.R. (1987). Knowledge -aided display design (KADD) system: An
                evaluation. Proceedings of the Human Factors Society 31st Annual Meeting, New
                York, New York.

         Hunt, R.M., & Maddox, M.E. (1986). A practical method for designing human -machine
                system interfaces. Proceedings of the 1986 IEEE International Conference
                Systems, Man, and Cybernetics, Atlanta, Georgia.

         Hunt, R.M.    (1985). Human factors of intelligent computer aided display design.
                Proceedings of the First Annual Aerospace Applications of Artificial Intelligence
                Conference, Dayton, Ohio,

         Hunt, R.M., & Rouse, W.B. (1984). A fuzzy rule -based model of human problem solving.
                IEEE Transactions on Systems, Man, and Cybernetics, 14(1).



                                                                                      24IHunt
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          Rouse, W.B., & Hunt, R.M. (1984). Human problem solving in fault diagnosis tasks. In
                 W.B. Rouse (Ed.), Advances in Man -Machine Systems Research. Greenwich, CT:
                 JAI Press.

          Frey, P.R., Sides, W.H., Hunt, R.M., & Rouse, W.B. (1983). Computer -generated display
                 system guidelines, Vol. I: Display Design. Palo Alto, CA: Electric Power Research
                 Institute.

          Hunt, R.M.   (1982). A fuzzy rule -based model of human problem solving.           1982
                 Proceedings of the American Control Conference. Washington, D.C.

          Hunt, R.M.    (1982) Rule based models of human control of dynamic processes.
                 Proceedings of 1982 IEEE International Conference on Cybernetics and Society.
                 Seattle, WA.

         Hunt, R.M. (1981). Characterizing the development of expertise in fault diagnosis tasks.
                1981 Proceedings of the IEEE International Conference on Cybernetics and
                Society. Atlanta, Georgia.

         Hunt, R.M., & Rouse, W.B.      (1981). Problem solving skills of maintenance trainees in
                diagnosing faults in simulated power plants. Human Factors, 23(3).

         Rouse, W.B., & Hunt, R.M. (1981). A fuzzy rule -based model of human problem solving
               in fault diagnosis tasks. 1981 Proceedings of the Eighth Triennial World IFAC
                Conference. Kyoto, Japan.


    TECHNICAL REPORTS
         Johnson, W.B., Norton, J.E., Duncan, P.C., & Hunt, R.M. (1988). Development and
               demonstration of microcomputer intelligence for technical training (MITT) phase 1
               final report (AFHRL Tech. Rep.). Brooks AFB, TX: Air Force Human Resources
               Laboratory.

         Hunt, R.M. (1981). Human pattern recognition and information seeking in simulated fault
                diagnosis tasks. (Report No. T-110, Ph.D. Thesis). Coordinated Science
                Laboratory, University of Illinois, Urbana, Illinois.

         Rouse, W.B., Rouse, S.H., Johnson, W.B., & Hunt, R.M. (1980). Human decision -making
                in computer-aided fault diagnosis (Report No. 431). Arlington, Virginia: U.S. Army
                Research Institute for the Behavioral and Social Sciences.

         Hunt, R.M.   (1979). A study of transfer of problem solving skills from context-free to
                context-specific fault diagnosis tasks.     (Report No. T-82, M.S. Thesis).
                Coordinated Science Laboratory, University of Illinois, Urbana, Illinois.



   PRESENTATIONS
         Warnings: When Common Sense is all too Common, AEGIS Claims Seminar, San
               Diego California, October 2018.



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          You'll Shoot Your Eye Out, Presented at the DRI Fire Science and Litigation Seminar,
                  Scottsdale, Arizona, November 2016.

          Human Factors Engineering and Warnings in Skiing, Presented to the Association of Ski
               Area Defense Attorneys, Stowe, Vermont, February, 2015.

          The Human Factor: The Psychology and Engineering Underlying Mountain Signage and
                Safety, Presented at the National Ski Area Association Conference and
                Tradeshow, Snowbird, Utah, 2013.

          The New Normal In Higher Education, Presented at the Polytechnic Summit, Marietta,
                Georgia, June 2012. Zvi Szafran, David Caudill, Ruston Hunt, Tom Ball

          Human Factors in Litigation, Institute of Continuing Legal Education in Georgia, 2001

          Human     Factors in Personal    Injury Cases,   National Association    of Subrogation
                  Professionals, 1998




                                                                                       26IHunt
                           Ruston M. Hunt Prior Testimony                                                                             As of 7/1/2019
Plaint.
or Def.        Date                 Plaintiff v. Defendant                       Court                                 Attorney
Plaint    Dep 11/2/12      Owens v C.W. Matthews et al            District Court of Fulton County   Patrick Moore
          Trial 3/11/16    11EV012407C                            State of Georgia                  Weinberg, Wheeler, Hudgins, Gunn & Dial
                                                                                                    3344 Peachtree Road
                                                                                                    Suite 2400
                                                                                                    Atlanta, Ga

Def       Dep 7/19/13      Fu v Reed                              State Court                       Douglas Smith
          Trial
          7/17/2014        CA# 2010V4488                          County of Houston                 Carlock, Copeland & Stair
                                                                  State of Georgia                  2600 Marquis Two Tower
                                                                                                    285 Peachtree Center Avenue
                                                                                                    Atlanta, Ga 30303


Plaint    Dep 1/15/2014    Hughes v Gilbane Construction          State of Ohio                     Stephen S. Crandall
                           13 CV 004435                           Court of Common Pleas             Crandall Moses Pera & Wilt, LLC
                                                                  Franklin County                   5 539 East Washington Street
                                                                                                    Chagrin Falls, Ohio 44022

Plaint    Dep 3/5/2014     Brown v WRI                            US District Court                 Dwayne Adams
                           1:13 -CV -00378                        Northern District of Georgia      Law Offices of Michael Lawson Neff
                                                                  Atlanta Division                  945 East Paces Ferry Road, Suite 1700
                                                                                                    Atlanta, GA 30326
                                                   -
Plaint    Dep 5/6/2014     Hernandez v Crown                      US District Court                 Michael Warshauer
          Trial 7/7/2015   7:13- CV-91 -HL                        Middle District of Georgia        Warshauer Law Group
                                                                                                    3350 Riverwood Parkway
                                                                                                    Atlanta, GA 30339

Def       Dep 7/24/2014    McLaughlin v CLP Mountain High, LLC.   Superior Court of California      Steven Parminter
          Trial                                                                                     Wilson, Esler, Moskowitz, Edelman & Dicker
          12/10/2014       MCO23780                               County of Los Angeles             LLP
                                                                                                                                                       Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.418 Filed 12/30/19 Page 27 of 48




                                                                                                                           27   IHunt
                                                          North District                    555 South Flower Street
                                                                                            Los Angeles, CA 90071

Plaint   Dep 8/15/2014   Chavez v Crown                   Maricopa County Superior Court    J.Randolph Picket
                         CV 2012 013480                   State of Arizona                  Picket Dummigan LLP
                                                                                            621 SW Morrison St., Suite 900
                                                                                            Portland, OR 97205

Plaint   Dep 9/5/2014    Griggs v Hi-Tech Labs            State Court of Cobb County        Robin Frazer Clark
                         CA 2013 A1353 -7                 State of Georgia                  Robin Frazer Clark, P.C.
                                                                                            1230 Peachtree Street, N.E., Suite 2323
                                                                                            Atlanta, GA 30309

Plaint   Dep 10/1/2014   Delgado v Fuel Barons et al      15th Judicial Circuit             Brian Denny
         (cont.)         CN 502011CA 011245XXXXMB AJ      Palm Beach County, FL
         10/6/2014                                                                          Searcy, Denny, Scarola, Barnhart &
                                                                                            Shipley, P.A.
                                                                                            2139 Palm Beach Lakes Blvd.
                                                                                            West Palm Beach, FL 33409

         Dep
Plaint   10/17/2014      Watsons v USA                    US District Court                 John L. Norris
                         3:13 - CV - 0757                 Middle District of Tennessee      Norris & Norris, PLC
                                                          Nashville Division                424 Church Street, Suite 1300
                                                                                            Nashville, TN 37201

         Dep
Def      11/14/2014      Wilmes V Consumers Oil Company   CIRCUIT COURT                     Mr. John V. McCoy
                         Cause No. 11 ND- CV00659         COUNTY OF NODAWAY                 MCCOY LEAVITT LASKEY LLC
                                                          STATE OF MISSOURI                 N19W24200 Riverwood Drive, Suite 125
                                                                                            Waukesha, WI 53188

         Dep
Plaint   11/18/2014      Pardales v BMW et al             State of Michigan                 Ven Johnson
                                                          Circuit court for the County of
                         12- 016586 -NP                   Wayne                             Johnson Law, PLC
                                                                                                                                      Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.419 Filed 12/30/19 Page 28 of 48




                                                                                                                  28   Hunt
                                                                                             Buhl Building
                                                                                             535 Griswold Street, Suite 2632
                                                                                             Detroit, MI 48226

         Dep
Def      11/20/2014      Greeson v Black Hills Energy et al   District Court                 R. Scott Ryburn
                         CN: C13-CV -24                       Seward County, Kansas          Anderson Byrd, LLP
                                                                                             216 S. Hickory
                                                                                             P.O. Box 17
                                                                                             Ottawa, KS 66067

Plaint   Dep 1/15/2014   Leonard v Crown                      US District Court              Michael Warshauer
                         1:14 -CV- 0024-WCO                   Northern District of Georgia   Warshauer Law Group
                                                              Atlanta Division               3350 Riverwood Parkway
                                                                                             Atlanta, GA 30339




Def      Dep 2/9/2015    Kelly v Mesa Propane                 District Court                 Tiffaney A. Norton
                         2013 CV 14                           County of La Plata, Colorado   Senter Goldfarb & Rice, LLC
                                                                                             1700 Broadway, Suite 1700
                                                                                             Denver, CO 80290
Def      Dep 4/10/2015   West Fertilizer                      District Court                 Mr. John V. McCoy
                                                              McLennan County Texas          MCCOY LEAVITT LASKEY LLC
                                                                                             N19W24200 Riverwood Drive, Suite 125
                                                                                             Waukesha, WI 53188

Plaint   Dep 4/15/2015   Terry v BEFCO                        State of South Carolina        Robert Goings
                         2013- CP -18 -251                    County of Dorchester           Goings Law Firm, LLC
                                                                                             914 Richland Street, Suite A-101
                                                                                             Post Office Box 436 (29202)
                                                                                             Columbia, South Carolina 29201

Plaint   Dep 6/8/2015    Busby v Beaufort City et al          Court of Common Please         McDougall Law Firm
                         2013 -CP-07 -01345                   County of Beaufort                          I
                                                                                             PO Box 1336 Beaufort SC, 29901
                                                                                                                                    Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.420 Filed 12/30/19 Page 29 of 48




                                                                                                                   29IHunt
                                                                    State of South Carolina             115 Lady's Island Commons
                                                                                                        Beaufort, SC 29907 USA

Plaint   Dep 7/15/2015   Pittas v Buyers Products                   Circuit Court of Cook County        Benjeman L. Nichols
                         12 L 759                                   State of Illinois                   CAVANAGH LAW GROUP
                                                                                                        161 N. Clark St., Suite 2070
                                                                                                        Chicago, IL 60601

Plaint   Dep 7/21/2015   Roberts v Carroll County Water Authority   State Court of Carroll County       Brian D. Lewis
                         NO. 14500417                               State of Georgia                    Kam, Ebersbach & Lewis, P.C.
                                                                                                        P.O. Box 71609
                                                                                                        Newnan, GA 30271 -1609

Plaint   Dep 8/14/2015   Wallace v B &F Enterprises                 Superior Court of Paulding County   David S. Currie
                         14CV1170 -TB                               State of Georgia                    The Currie Firm
                                                                                                        1455 Lincoln Parkway, Suite 300
                                                                                                        Atlanta, GA 30346

Plaint   Dep 8/19/2015   Travis v Marta                             Superior Court of Fulton County     Christopher Graddock
                         2014 CV25350B                              State of Georgia                    Morgan & Morgan, P.A.
                                                                                                        191 Peachtree Street, NE Suite 4200
                                                                                                        Atlanta, GA

Plaint   Dep 8/28/2015   Young v Raymond                            Court of Common Pleas               Michael Warshauer
         Dep 1/20/2016   13CV009888                                 Franklin County                     Warshauer Law Group
         Trial
         10/19/2017                                                 State of Ohio                       3350 Riverwood Parkway
                                                                                                        Atlanta, GA 30339
Def      Dep 9/2/2015    Templo V Ballymore                         Superior Court of New Jersey        Lawrence Silverman
                         MID -L-2090 -13                            Middlesex County                    Litchfield Cavo LLP
                                                                                                        1515 Market Street
                                                                                                        Philadelphia, PA 19102

         Dep
Plaint   10/15/2015      Coury v Textron, Inc.                      US District Court                   Eugene Covington
                                                                                                                                              Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.421 Filed 12/30/19 Page 30 of 48




                                                                                                                              30   Hunt
                                                                                                   Covington, Patrick, Hagins, Stern & Lewis,
                                                                  District of South Carolina       P.A.
                                                                  Greenville Division              211 Pettigru Street
                                                                                                   Greenville, SC 29602

Plaint   Dep 11/3/2015   Plato v Lubrizol                         Circuit Court                    Tad Griffin
                         16-2012 -CA- 013602                      Fourth Judicial Circuit          Pajcic & Pajcic, PA
                                                                  Duval County, Florida            One Independent Drive, Suite 1900
                                                                                                   Jacksonville, Florida 32202

         Dep                                                      Superior Court of Richmond
Plaint   12/30/2015      Ishmael v General Growth Properties      County                           Nicholson Revell, LLP
                         CA #2014 RCCV 372                        State of Georgia                 George S. (SAM) Nicholson
                                                                                                   Gateway Professional Center
                                                                                                   4137 Columbia Road
                                                                                                   Augusta, Georgia 30907

         Trial
Plaint   2/22/2016       White v Deere & Company                  United States District Court     Reed Morgan
                         CA # 13 -cv-02173                        District of Colorado             Law Firm of S. Reed Morgan, P.C.
                                                                                                   413 8th Street
                                                                                                   Comfort, Texas 78013

Plaint   Dep 4/21/2016   Valentine v Blue Rhino Global Sourcing   United States District Court     Charles Slaughter
                                                                  District of South Carolina       Walker Morgan, LLC
                                                                  Columbia Division                135 East Main Street
                                                                                                   Lexington, SC 29072

Def      Dep 5/6/2016    Feasel v Tracker Marine                  Second Judicial District Court   Michael McMullen
                         CN. 140500037                            Morgan County                    Schlee,McMullen,McCarthy &Hansen P.C.
                                                                  State of Utah                    4050 Pennsylvania Ave, Suite 300
                                                                                                   Kansas City, MO 64171 -5430

Plaint   Dep 5/17/2016   Roberts v Tractor Supply                 United States District Court     Steven Pickens
         Trial
         2/21/2018       1:14 -CV- 02332 -RWS                     Northern District of Georgia     Mahaffey Pickens Tucker, LLP
                                                                                                                                                Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.422 Filed 12/30/19 Page 31 of 48




                                                                                                                          31IHunt
                                                             Atlanta Division                1550 North Brown Road, Suite 125
                                                                                             Lawrenceville, GA 30043
Plaint    Dep 5/20/2016   Stelly V Cambridge Downs           State Court of Fulton County    T. Charles Blaska
                          14EV002160D                        State of Georgia                The Blaska Law Firm
                                                                                             8565 Dunwoody Place
                                                                                             Atlanta, GA 30350

Plaint.   Dep 6/22/2016   Olvera v Mazda                     State Court of Fulton County    Lance Cooper
                          13EV017592B                        State of Georgia                The Cooper Firm
                                                                                             531 Roselane


                                                                                             Marietta, GA 30060
Plaint.   Dep 6/27/2016   Peredia v HR Mobile et al          Superior Court of the           Scott Righthand
                          CN 13CECG03137                     State of California             Law Office of Scott Righthand
                                                             County of Freson                275 Battery Street, Suite 1300
                                                                                             San Francisco, CA 94111

Plaint.   Dep 7/15/2016   Petersen v Raymond                 US District Court               Michael Warshauer
                          CN 2:14 -cv -00894                 District of Utah                Warshauer Law Group
                                                             Central Division                3350 Riverwood Parkway
                                                                                             Atlanta, GA 30339

Plaint.   Dep 7/27/2016   Delor v Georgia D.o.T.             State Court of Ballwin County   Caroline Herrington
                          C.A.N 13CD5165ST                   State of Georgia                Adams, Jordan, & Herrington, P.C.
                                                                                             577 Mulberry Street, Suite 1250
                                                                                             Macon, Georgia 31202

Plaint.   Dep 9/9/2016    Gaddy v TEREEX                     United States District Court    Drew Ashby
                          1:14 -cv- 0928 -WSD                Northern District of Georgia    The Cooper Firm
                                                             Atlanta Division                531 Roselane
                                                                                             Marietta, GA 30060

Def.      Dep 9/19/2016   Timmons v CPChem                   United States District Court    Jason Zager
                          Case No. 14 -cv- 03359- JNE -JJK   District of Minnesota           Shook, Hardy & Bacon L.L.P.
                                                                                             2555 Grand Blvd.
                                                                                                                                 Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.423 Filed 12/30/19 Page 32 of 48




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                                                                                                          Kansas City, Missouri 64108

          Dep
Plaint.   10/10/2016      Gilyard v Riley Forest Products, LLC et al   Court of Common Pleas              Shane M. Burroughs
                          C/A No: 2014-CP -03 -00269                   County of Allendale                LANIER & BURROUGHS, LLC
                                                                       State of South Carolina            250 Gibson Street
                                                                                                          PO Drawer 2789
                                                                                                          Orangeburg, SC 29116

          Dep
Def.      10/27/2016      Campbell v Long's Propane Gas, LLC           Circuit Court                      Mr. John V. McCoy
                          CN 15- 002945 -NI                            County of St. Clair                MCCOY LEAVITT LASKEY LLC
                                                                       State of Michigan                  N19W24200 Riverwood Drive, Suite 125
                                                                                                          Waukesha, WI 53188

          Dep
Plaint.   11/16/2016      Spencer v Park Place Grocery                 United States District Court       Ann-Margaret Perkins
                          No. 1:12 -cv- 1967 -WBH                      Northern District of Georgia       Perkins Law Firm, LLC
                                                                       Atlanta Division                   515 Newnan Street
                                                                                                          Carrollton, GA 30117

          Dep
Def       12/15/2016      Carr v National Standard Co.                 Circuit Court of Fayette County    Shook Hardy & Bacon
                          CV-2003 -142.02                              Alabama                            2555 Grand Blvd.
                                                                                                          Kansas City, MO 64108

Plaint    Dep 4/13/2017   Williams v Fontaine Commercial Trailer       Circuit Court of Franklin County   Benjamin E. Baker
                          CV-14- 900171                                Alabama                            Beasley Allen
                                                                                                          218 Commerce Street
                                                                                                          Montgomery, AL 06702

Plaint    Dep 5/10/2017   Blackwell v Tucker Door et al                Circuit Court                      Steven Pickens
          Trial
                          CA 16 -C-01755 -4                            Gwinnett County                    Mahaffey Pickens Tucker, LLP
          11/27/2018
                                                                       Georgia                            1550 North Brown Road, Suite 125
                                                                                                          Lawrenceville, GA 30043
                                                                                                                                                 Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.424 Filed 12/30/19 Page 33 of 48




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                         Williams v New Meadow Park
                                                              Court of Common Pleas               Dennis Smith
Plaint   Dep 6/9/2017    Apartments
                         CA 2016- CP -33 -09                  State of South Carolina             Dennis H. Smith, P.A.
                                                              County of Marion                    Surfside Beach, SC 29587


Plaint   Dep 7/7/2017    Reinard v Crown Equipment Corp       United States District Court        Michael Warshauer
         Trial
         7/19/2017                                            Northern District of Iowa           Warshauer Law Group, P.C.
                                                              Eastern Division                    2740 Bert Adams Road
                                                                                                  Atlanta, GA 30339

Plaint   Dep 7/13/2017   Davis v Ford Motor Co.               Superior court of Gwinnett County   Conley Griggs Partin LLP
                         16C- 04985-4                         State of Georgia                    1380 W. Paces Ferry Rd NW
                                                                                                  Atlanta, GA 30327


Def      Dep 7/18/2017   Sheehan v Energy Transfer Partners   Montana Eighteenth Judicial         Eugene LaFlamme
                         DV- 14-664A                          District Court, Gallatin County     McCoy Leavitt Laskey, LLC
                                                                                                  N19W24200 Riverwood Drive, Suite 125
                                                                                                  Waukesha, WI 53188

Plaint   Dep 7/26/2017   Devit v Georgia Eye Institute        State Court of Chatham County       Bobby Phillips
                         STCV1700001                          State of Georgia                    Carson & Phillips
                                                                                                  420 West Broughton Street
                                                                                                  Savannah, GA 31401

Def      Dep 8/19/2017   Johnson v Amerigas Propane           US District Court                   Brooke Laskey
                         CA 1:13 -cv- 00806 -cc               Northern District of Georgia        McCoy, Leavitt, Laskey, LLC
                                                              Atlanta Division                    1803 Rio Grande Boulevard
                                                                                                  Albuquerque, New Mexico 87104

Plaint   Dep 9/6/2017    Plumlee v Alliance                   State of Carolina                   Samuel K. Allen
         Dep 9/18/2017   2015 -CP-10 -4927                    Court of Common Pleas               CLORE LAW GROUP
                                                                                                                                         Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.425 Filed 12/30/19 Page 34 of 48




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                                                         Ninth Judicial District           49 Immigration Street, Suite 100
                                                         County of Charleston              Charleston, SC 29403
Plaint   Dep 9/8/2017     Fassett v Sears et al          United States District Court      Roberta Golden
                          4:15 -cv -00941                Middle District of Pennsylvania   Ross Feller and Casey
                                                                                           One Liberty Plaza
                                                                                           1650 Market Street, Suite 3450
                                                                                           Philadelphia, PA 19103
Plaint   Dep 9/22/2017    Guitterez v Hilti              State Court of Dekalb County      Rick DeMedeiros
                          File No.: 14 -A-53691          State of Georgia                  951 Railroad Street
                                                                                           Conyers, GA 30012

         Dep
Plaint   10/23/2017       Goss v Northpoint              State Court of Fulton County      Thomas S. Kenney
                          File No. 14EV002506Y           State of Georgia                  Kenney & Medina, P.C.
                                                                                           3302 McGinnis Ferry Road, Suite 100
                                                                                           Suwanee, GA 30024

         Dep
Plaint   11/20/2017       Vazquez v Raymond              US District Court                 Michael Warshauer
                          File No. 2:17-CV- 00020 -RWS   Northern District of Georgia      Warshauer Law Group, P.C.
                                                         Gainesville Division              2740 Bert Adams Road
                                                                                           Atlanta, GA 30339

         Dep
Plaint   12/21/2017       White v STAR and Devon         US District court                 Trent B. Speckhals
                          Case No. 3:16 -cv-03265        Middle District of Tennessee      Speckhals Law, P.C.
                                                         Nashville Division                5555 Glenridge Connector, Suite 200
                                                                                           Atlanta, Georgia 30342

Plaint   Dep 2/1/2018     Jackson v Outback              Court of Common Pleas             Melissa G. Mosier
         Trial 2/6/2018   C/A #: 2012 -CP-43 -707        State of South Carolina           McWhirter, Bellinger & Associates, P.A.
                                                         County of Sumter                  119 East Main
                                                                                           Lexington, SC 29072
                                                                                                                                     Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.426 Filed 12/30/19 Page 35 of 48




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Def      Dep 5/2/2018    Williams v Amerigas                         Superior Court Division         John Hansen
                         17 CVS 6981                                 State of North Carolina         McCoy Leavitt Laskey LLC
                                                                     Coun ty of Wake                 8700 Monrovia, Suite 310
                                                                                                     Lenexa, KS 66215

Plaint   Dep 5/24/2018   Lopez v Dewalt                              Superior court of New Jersey    Alan Friedman
                         PAS -L- 1964 -16                            Passaic County                  Bagolie Friedman, LLC
                                                                                                     648 Newark Avenue
                                                                                                     Jersey City, New Jersey 07306

Def      Dep 7/11/2018   Ventura v Southern States Cooperative       State of North Carolina         David Dahlmeier
                         17 -CVS -565                                General Court of Justice        Bassford Remele
                                                                     Superior court Division         100 South 5th Street, Suite 1500
                                                                                                     Minneapolis, MN 55402 -1254

Plaint   Dep 7/31/2018   Kovalski, III. V Premier Kings Of Georgia   State Court of Dekalb County    Raymond T. Brooks, Jr.
                         17A63490                                    State of Georgia                281 Scenic Highway
                                                                                                     Lawrenceville, Georgia 30046

Plaint   Dep 8/29/2018   McBride v Royal management                  State Court of Chatham County   Bryan Baer
                         STC1700789                                  State of Georgia                1447 Peachtree St NE
                                                                                                     Suite 550,
                                                                                                     Atlanta, GA 30309

Def      Dep 9/14/2018   Lopez v Big Tex                             US District Court               Kevin Banville
                         1:17 -cv -1235 MV /JHR                      District of New Mexico          McCoy, Leavitt, Laskey, LLC
                                                                                                     317 Commercial St. NE, Suite 200
                                                                                                     Albuquerque, New Mexico 87102

         Dep
Plaint   10/23/2018      Herrera v Southern Cal Edison               Superior Court of the           Stephen C. Ball
                         BC 558894                                   State of California             Ball & Bonholtzer
                                                                     County of Los Angeles           300 North Lake Avenue, Suite 1100
                                                                                                     Pasadena, California 91101
                                                                                                                                         Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.427 Filed 12/30/19 Page 36 of 48




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Plaint   Dep 12/5/2018   Austin v Merritt                Circuit Court                  Benjamin E. Baker
                         CV- 2016 -900081                Covington County, Alabama      Beasley Allen
                                                                                        218 Commerce Street
                                                                                        Montgomery, AL 06702

         Dep
Plaint   12/13/2018      Hampton v Raymond               US District Court              Michael Warshauer
         Dep 4/18/2019   File No. 1:18 -CV- 00081 -RWS   Northern District of Georgia   Warshauer Law Group, P.C.
                                                         Atlanta Division               2740 Bert Adams Road
                                                                                        Atlanta, GA 30339

Plaint   Dep 2/25/2019   Turner v Moncks Corner, LLC     Court of Common Pleas          Emily Hanewicz Tong
                         Case No. 2017 -CP -08 -10978    9th Judicial Circuit           Wigger Law Firm, Inc.
                                                         County of Berkeley, South
                                                         Carolina                       8086 Rivers Avenue, Suite A
                                                                                        North Charleston, SC 29406

Plaint   Dep 6/3/2019    Scannavino v FCA Corporation    Inthe State Court of           Christopher Glover
                         Case No. 17C06784 -1            Gwinnett County                Beasley Allen
                                                         State of Georgia               4200 Northside Parkway
                                                                                        NW Building One, Suite 100
                                                                                        Atlanta, GA 30327
                                                                                                                          Case 4:18-cv-12076-MFL-DRG ECF No. 35-12, PageID.428 Filed 12/30/19 Page 37 of 48




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                                                 APPENDIX        C
                                           Letter of Engagement

       RM Hunt, Ltd.
                                                    5833 Revington Drive, Peachtree Corners, GA 30092 USA
                                                                                           Russ @RMHunt.com
                                                                                           Tel: 770.356.8846

    Bruce Moss
    Denenberg Tuffley
    One Northwestern Plaza
    Suite 600
    Southfield. MI 48034


            RE:     Kwiatkowski y    FXI



    Dear Mr. Moss:

    This letter will serve to memorialize my fees, the services I am prepared to provide and the terms and
    conditions of my engagement           you wish to retain me. Enclosed please fmd a copy of my CV.

   I require a $2,000, non -refundable, retainer to be paid in advance of any work. This retainer must be paid
   before I am designated as an expert in this matter. My fee for research, analysis, consultation and
   testimony is $350 per hour. Travel and other costs which may be incurred as a result of research and
   preparation for this case will be passed through at cost. Initial fees and costs will be billed against the
   retainer. Once the retainer is exhausted I will submit invoices on a monthly basis with payment terms of
   net 30. It is to be understood that I am engaged in the subject case by your law firm and not your firm's
   client. Payment for my services will in no way be contingent on my opinions or the outcome of the
   subject case.

   My services may include some or all of the following; examination of the objects(s) involved in the
   litigation, visit(s) to the site of the incident, telephone consultations, literature research, review of the
   products of discovery, meetings with you and /or your client, a written report of my findings (if and only if
   requested), and testimony at deposition and trial. My research and the formulation of my opinions shall
   be directed by my training and experience.

   Please do not hesitate to contact me should you have any questions or need additional information.

   Sincerely,




   Ruston M. Hunt, PhD



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                                            APPENDIX D
                                 Human Factors and Ergonomics
                                           Analysis Process


    The study of human factors or ergonomics focuses on human beings and how they interact with
    products, devices, procedures, work spaces, and environments encountered at work and in daily
    living. Human factors engineering applies knowledge about human strengths and limitations to
    the design and evaluation of interactive systems of people, equipment, policies and their
    environment to ensure meeting the goals of effectiveness, safety, and user acceptance.
    Successful systems must meet all three goals.

    Core Competencies of Ergonomists

    The Board of Certified Professional Ergonomists initiated certification of ergonomists in 1992
    according to the body of knowledge or core competencies listed here below.
   A. Basic Principles of Ergonomics
       1. Systems Concepts
      2. Design Concepts
   B. Core Background Relevant to Ergonomics
       1. Human Attributes
          1.1 Anthropometry & Demography
          1.2 Physiology & Biomechanics
          1.3 Psychology
      2. Environmental Context
          2.1 Physical Environment
          2.2 Social Environment
          2.3 Organizational Environment
   C. Core Methodology: Analysis and Design of Processes and Products
       1. Statistics and Design of Investigations
      2. Basic Process Analysis
      3. Design Methods
      4. Basic Usability
   D. Methods and Content Specific to Application Area
      1. Human -Machine Interaction
          1.1 Methods -systematic procedures, principles, and techniques
          1.2 Content-design and evaluation information applied to human -machine interactions.
      2. Human -Environment Interaction
          2.1 Methods -systematic procedures, principles, and techniques
          2.2 Content-design and evaluation information applied to task appropriate situations.

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        3. Human -Software Interaction
            3.1 Methods -systematic procedures, principles, and techniques
              3.2 Content-design and evaluation information applied to user interfaces.
        4. Human -Job Interaction
            4.1 Methods -systematic procedures, principles, and techniques
              4.2 Content -design and evaluation information applied to job and work situations.
        5.   Human -Organization Interface
              5.1 Methods-systematic procedures, principles, and techniques
              5.2 Content-design and evaluation information applied to socio- technical systems.

    I am knowledgeable and     experienced in the core competencies listed here via my graduate school
    education as well as more than thirty years of practice in human factors research and design and
    more than fifteen years of teaching human factors classes in undergraduate and graduate
    programs.

    Role of Human Factors Engineering in Design

    It is important to understand the role and purpose of human factors engineering in the context of
    equipment design. The following definitions are typical of those found in the literature.

             Human factors engineering is the application of psychological and physiological
             principles to the engineering and design of products, processes, and systems. The goal of
             human factors is to reduce human error, increase productivity, and enhance safety and
             comfort with a specific focus on the interaction between the human and the thing of
             interest. (An Introduction to Human Factors Engineering, Wickens et al, 1997)


             Ergonomics (or human factors) is the scientific discipline concerned with the
             understanding of interactions among humans and other elements of a system, and the
             profession that applies theory, principles, data and methods to design to optimize human
             well -being and overall system performance. (International Ergonomics Association,
             2014)

   It is important to note that both of these definitions recognize that human factors serves a product
   design function. "Human factors and ergonomics professionals play a significant role in the
   design of consumer products, medical devices, construction and agricultural equipment, complex
   aircraft and spacecraft, pedestrian and vehicle transportation systems, manufacturing facilities

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    and processes, office environments, hospital and healthcare delivery systems, and a multitude of
    other applications." (Position Paper Supporting Human Factors and Ergonomics Practitioners in
    Forensics, 2014) In all cases, human factors knowledge and expertise is recognized as critical to
    the design of safe, effective and user acceptable product performance.

    Role of Warnings and Instructions in Design

    Manufacturers of equipment, whether consumer products or industrial products, must insure that
    users of their products are adequately informed of all hazards associated with the anticipated use
    of the product and how to mitigate these hazards. The Consumer Product Safety Commission
    states that the ability of manufacturers to recognize and anticipate the circumstances under which
    products are used or misused is central to the effective design and production of safe products
    (CPSC, 2006). In another publication the CPSC states, "Instructions do not exist in a vacuum.
    They are part of a system of product- oriented elements that must work together. These elements
    include the physical product design, user interfaces, on- product warnings and messages,
    packaging, marketing and training." It goes on to point out, "Instructions are a tool for
    consumers to use to do something. Like any other good tool, instructions must be designed for
   use. Think of their development not as an effort of writing, but of engineering." (CPSC, 2003)
   It is with this approach in mind that this report analyzes the design of the subject warnings and
    instructions.

   The efficacy of warnings and instructions depends on a number of factors including but not
   limited to:

        1.   Operator comprehension of the intended warning and/or instruction,
       2.    The ability of the operator to carry out the action indicated by the instruction/warning in
             the context of mental and/or physical stresses they are likely to be facing.

   The literature in accident investigation is replete with examples of highly trained individuals
   such as aircraft test pilots and surgeons, who, if they had correctly followed their training,
   instructions and/or warnings, would have avoided disastrous outcomes. Historically, such
   accidents were often labeled as being caused by human error. But, doing so does not avoid
   future similar outcomes.

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    Through Human Factors analysis it has been recognized that simply mandating that operators
    follow warnings and instructions is not a reliable approach to reducing accidents and injurious
    outcomes. Even when the operator has been fully trained and understands the particular
    warnings and instructions, they may not perform in accordance with them. Human factors
    analysis often identifies elements of the design or operational environment that interfere with the
    operator's ability to follow warnings and instructions.

    In a wide variety of contexts, human factors analysis has identified the need for specific design
    changes. The knowledge, training and experience of human factors engineers is routinely used
    to specify operational design requirements that identify the essential capabilities and associated
    detailed design requirements of an operator -to- machine interface. In this way, human factors
    engineers routinely drive the design of products and as result, are part of the product design
    team.

    One of the responsibilities of human factors engineers is to identify situations where training,
    instructions and warnings are not sufficient to protect operators from injury. A human -machine
    interface design that is overly reliant on constant vigilance, adherence to the rules and error -free
    behavior of a human operator to prevent injury, is a potentially defective design. It is not
    reasonable to expect that the typical mechanical or electrical engineer will have the training and
    experience to recognize these situations because they lack an appreciation for user-centered
    design. Thus, a human factors engineer should be part of any design effort where the potential
   for injury is anticipated or recognized in practice.

   Based on their education, training and experience, human factors engineers are capable of
    identifying human -machine interface design defects. Similarly, they contribute to the design of
   human -machine interfaces by application of knowledge of human strengths and weaknesses,
   both physical and cognitive.



   Analysis Process

   The process described here follows the scientific method and human factors methods developed
   and tested over fifty years of engineering and psychology research and practice that has defined

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    the field (Duncan et al, 2004). Information may be gathered through demonstration, inspection,
    analysis and/or empirical testing in order to test designs against accepted standards, guidelines,
    and regulations (CPSC, 2006). The process outlined here below is a collection of accepted
    methods and standards specific to human factors analysis. These methods apply to original
    design and evaluation as well as post hoc accident analysis and assessment.


    I am   frequently called upon to offer opinions in the areas of warnings. However, it is important
    to recognize where warnings fit into the overall process of human factors design and evaluation.
    As discussed in step two of this process, many hazards can and should be controlled by
    elimination and/or guarding; these approaches are generally more reliable than warnings. But,
    the process described here assumes that warnings are at least an element of the approach to
    hazard control. Therefore, after step two the process listed here focuses on warnings issues.


       1.    Identify hazards. Hazards may be identified in a number of ways. For example,
             hazards may be identified by looking at accident reports or statistical summaries such as
             the NIOSH Fatality Assessment and Control Evaluation Program (FACE)
             (www.cdc.gov/niosh/face/), CPSC's National Electronic Injury Surveillance System
             (NEISS), a national probability sample of hospitals in the U.S. and its territories
             (www.cpsc.gov /library/neiss.html) or the Integrated Management Information System
             (IMIS) (https: //www.osha.gov /pis /imis /accidentsearch.html) maintained by OSHA.
             However, as pointed out by Stuart Statler, former Commissioner of the Consumer
            Product Safety Commission, "we should not need to await a body count of injuries and
             deaths from any particular consumer product before corrective action is warranted."
             ( Statler,   2005)


            Even in the absence of empirical evidence of injuries, product analysis can identify the
            opportunity for potential uncontrolled release of electrical, mechanical and other types of
            energy and to determine severity and likelihood of injury (NIOSH Safety Alert, 1999).
            For example, information from the Hazardous Material Information System (HMIS)
            developed by the National Paint and Coatings Association and the NFPA 704 Standard,
            or the NFPA Diamond as it is commonly known, provides hazard rating indices for


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            common industrial and household chemicals. Empirical injury data are not needed to
            conclude that certain chemicals are hazardous. Similarly, pinch points, trip hazards,
            exposure to electrical current and other hazards may be identified by inspection.


       2.   Consider whether hazards can be eliminated or mitigated by following the hazard
            control hierarchy. The Hazard Control Hierarchy has been the standard overarching
            approach to controlling hazards in the workplace since the mid 1950's when it was first
            put forth in an Accident Prevention Manual published by the National Safety Council. It
            is often referred to as the trilogy: Design, Guard, and Warn. Variations on the original
            Hierarchy have been developed (e.g., ANSI/AIHA Z10 -2005) but the essence of the
            approach has remained unchanged since the original conception.
            Literally hundreds of scientific and engineering papers have been written in the last fifty
            years in which the Hazard Control Hierarchy is taken as a given. (Vrendenburgh, 2005;
            Cheatham, 2003; Barnett, 1988) The Hazard Control Hierarchy continues to be included
            in standards such as ANSI /ASSE Z590.3    - Prevention through Design that was approved
            in 2011. To summarize, this approach is not new and it is still in use today.


            The Hazard Control Hierarchy specifies that when hazards are identified, the most
            reliable way to control hazards is to eliminate them from the design. ISO refers to this
            step as using "inherently safe design measures." Of course, analysis of the product or
            process may determine that the hazard is inherent in the function of the product and
            therefore cannot be eliminated without compromising the effectiveness of the product.


            The second most reliable means to control hazards is to mitigate the likelihood of injury
            or the severity of injury associated with a hazards. One might create a physical guard to
            protect people from injury. Machinery and machine guarding is specified for many
            applications by entities such as OSHA, ANSI, CPSC, ISO, Underwriters Laboratories,
            ASME and many others. However, guarding is not limited to physical guards typically
            addressed by these groups but may also involve safety interlocks, personal protective
            equipment, administrative controls, etc. Guarding is a function to be performed, not
            necessarily a physical device and it may be accomplished by mitigating the likelihood of


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           encountering a hazard and/or by mitigating the damages /injury that might result from
           such an encounter.


           The third most reliable approach to controlling hazards is to communicate about the
           hazard to people so that they may protect themselves from the hazard. Communication
           may come in many forms and formats and from many different sources. Warnings may
           instruct users of unknown hazards or they may remind users of the presence of a known
           hazard. Instructions may provide safe procedures for avoiding injury. Hereafter, the
           term "warning" shall include all variety of form and format of communication that might
           be used to convey safety related information to users.


      3.   Consider the need for, and viability of, warnings, instructions and /or other
           collateral materials. The goal of user -centered task analysis is to create a model of the
           task and users sufficient to determine both the need for warnings and the best
           opportunities to provide warnings. (Lehto and Miller, 1988; Wogalter, DeJoy and
           Laughery, 1999)


           Significant research literature can be referenced to understand how people do interact or
           should be expected to interact with systems ranging from simple consumer products to
           complex, highly sophisticated systems. Models of human system interaction may be
           simple or extremely complex depending on the complexity of the task and the
           sophistication of the system and users. It is possible that such analysis may conclude that
           warnings are not likely to reliably control a hazard given what is known about the task,
           the system, and/or users.


      4.   Consider existing labels, warnings, instructions and other collateral materials to
           determine if hazards are adequately identified and if so, how warning information is
           conveyed to affected parties. This step involves looking at on- product labels as well as
           collateral materials such as package labeling, marketing materials, instructions, user
           manuals, maintenance manuals, videos, web sites, etc. Once identified and documented



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            these materials are compared to relevant applicable regulations and standards identified
            in steps 7 and 8 of this process.


       5.   Consider similar products and processes to establish the state of the art for product
            and process design. The purpose of this step is to identify the existence and viability of
            alternative design, guarding, and /or warnings and instructions. Where alternative designs
            are available it may be possible to collect data on comparative effectiveness, safety and
            user -acceptance.


      6.    Consider pertinent training materials. Some manufacturers require or assume a level
            of training for users of their products. In such cases it is necessary to assess the adequacy
            of the training materials and also the efficacy of this approach. Such training is
            specifically addressed in documents such as, for example, HCS 1910.1200(h). Of course,
            certain products and environments, such as those available to the general public, must
            assume little to no training or prior experience.


      7.    Consider the behavior of the individual(s) involved. The purpose of this step is to use
            deposition testimony, accident reports and physical evidence to document specific types
            of behavior of the individual(s) involved. Results of this analysis are used to assess
            understanding, compliance and adequacy of existing warnings to affect behavior
            modification. These include;
               a.   Was the behavior of the individual(s) involved in conflict with any explicit
                    warnings or instructions given to them?
               b.   Was there evidence in the behavior of the individual(s) involved consistent with
                    an effort to comply with warnings and/or follow instructions?
               c.   If there was evidence of any unsafe behavior was it more likely intentional
                    assumption of risk or due to a lack of awareness or understanding of the hazard?
               d.   Was the behavior of the individual(s) involved reckless or otherwise inappropriate
                    for the situation in which the product was used?
               e.   Was the behavior of the individual(s) involved foreseeable?



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                   f.   Was the behavior of the individual(s) involved reasonable given his or her
                        understanding of the product?


       8.   Consider relevant applicable regulations. In some but not all cases, there are
            regulations that define specific statutory requirements for design, guarding, instructions,
            warnings, product labeling, etc. that apply to a specific product or class of products.
            Examples include regulations associated with the Consumer Product Safety Act (CPSA),
            the Federal Hazardous Substances Act (FHSA), the Federal Insecticide, Fungicide, and
            Rodenticide Act (FIFRA), Occupational Safety and Health Act (OSHA) and the Fair
            Packaging and Labeling Act (FPLA). Analyses of regulations such as these and the
            subject warnings, instructions, product labeling, etc. may reveal deficiencies.


      9.    Consider standards within the industry and generic industrial standards (a.k.a.
            voluntary or consensus standards). Voluntary or consensus standards are promulgated
            by organizations such as the American National Standards Institute (ANSI), the National
            Fire Protection Association (NFPA), ASTM International, originally known as the
            American Society for Testing and Materials (ASTM), the National Paint and Coatings
            Association (NPCA) and many, many more. These organizations have rigorous
            development and review processes that require significant consensus to be reached by the
            parties impacted by the standard before the standards can be released. From a scientific
            standpoint, these standards typically provide more thorough and reliable design and
            evaluation guidance than do regulations.


            The Consumer Product Safety Act specifically recognizes and relies upon such standards
            - 15   USC §2056(b)(1) states "The Commission shall rely upon voluntary consumer
            product safety standards rather than promulgate a consumer product safety standard
            prescribing requirements described in subsection (a) of this section whenever compliance
            with such voluntary standards would eliminate or adequately reduce the risk of injury
            addressed and it is likely that there will be substantial compliance with such voluntary
            standards."



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